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                                   7                                   UNITED STATES DISTRICT COURT

                                   8                                  NORTHERN DISTRICT OF CALIFORNIA

                                   9
                                         UNITED STATES OF AMERICA,
                                  10                                                          Case No. 20-cr-00249-RS-1
                                                         Plaintiff,
                                  11
                                                  v.                                          ORDER ON DEFENDANT'S WITNESS
                                  12                                                          AND EXHIBIT LIST DISCLOSURES
Northern District of California
 United States District Court




                                         ROWLAND MARCUS ANDRADE,
                                  13
                                                         Defendant.
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                                  16           The Defendant Rowland Marcus Andrade requests an order setting the due date for his

                                  17   witness disclosure at the start of jury voir dire, and the due date for his exhibit disclosure at the

                                  18   close of the government’s case. The government opposes the motion and contends the Defendant

                                  19   should be required to disclose his witnesses and exhibits by the pretrial conference on January 22,

                                  20   2025. The government has agreed to disclose its witnesses and exhibits by January 15, 2025. For

                                  21   the following reasons, the Defendant must disclose his lists of witnesses and exhibits by no later

                                  22   than the pretrial conference on January 22, 2025.

                                  23           District courts have broad authority to control and manage their dockets. See U.S. v. W.R.

                                  24   Grace, 526 F.3d 499, 508–09 (9th Cir. 2008) (“There is universal acceptance in the federal courts

                                  25   that, in carrying out this mandate, a district court has the authority to enter pretrial case

                                  26   management and discovery orders designed to ensure that the relevant issues to be tried are

                                  27   identified, that the parties have an opportunity to engage in appropriate discovery and that the

                                  28   parties are adequately and timely prepared so that the trial can proceed efficiently and
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                                   1   intelligibly.”).

                                   2           Rule 16(b) specifically requires a criminal defendant to provide reciprocal discovery of any

                                   3   evidence that the defendant intends to use in his case-in-chief at trial. Fed. R. Crim. P. 16(b)(1).

                                   4   While the Rule does not impose a disclosure deadline in advance of trial, Criminal Local Rule

                                   5   17.1-1 contemplates disclosure of witness and exhibit lists, by both the government and the

                                   6   defense, ahead of the pretrial conference. See Crim. L.R. 17.1-1(b); see also United States v. Nubla

                                   7   & Ku, 21-CR-00139 RS, 2023 WL 2457448 at * 5 (N.D. Cal. March 9, 2023); United States v.

                                   8   Aiyaswamy, No. 15-cr-00658-LHK-1, 2017 WL 1365228, at *5 (N.D. Cal. Apr. 14, 2017).

                                   9   Accordingly, the Defendant is ordered to disclose lists of all exhibits or witnesses, other than

                                  10   evidence or witnesses used purely for impeachment or rebuttal, in advance of the pretrial

                                  11   conference on January 22, 2025.

                                  12
Northern District of California
 United States District Court




                                  13   IT IS SO ORDERED.

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                                  15   Dated: January 15, 2025

                                  16                                                    ______________________________________
                                                                                        RICHARD SEEBORG
                                  17                                                    Chief United States District Judge
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                                  28                                                                                   ORDER ON DISCLOSURES
                                                                                                                 CASE NO. 20-cr-00249-RS-1
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